  Case 1:20-cv-00452-WJM-SKC Document 189-1 Filed 05/26/22 USDC Colorado Page 1 of 7
                                                      EXHIBIT A



From:                              Legal Grays <         @gmail.com>
Sent:                              Thursday, May 26, 2022 1:52 PM
To:                                Lueck, Dennis
Cc:                                Salinas, Maria
Subject:                           Re: [EXTERNAL] Re: Grays v. NSL - Motion to Restrict MSJ Exhibits


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trusted.

Oppose

On Thu, May 26, 2022, 12:25 PM Lueck, Dennis <dlueck@spencerfane.com> wrote:

 Ms. Grays:



 Exhibits 7 and 8 were filed as restricted documents with the MSJ. Yesterday, the clerk restricted exhibits 4, 5 and 9 at
 our request. The clerk further directed us to file a motion to restrict exhibits 4,5,7,8 and 9 although they are already
 restricted, so that the court has a written basis for the restriction.



 Personally, I have no issue with restricting Exhibits 2, 3 and 6; it makes no difference to me. However those documents
 do not contain any unredacted PII. So, I cannot ask the court to restrict those documents on that basis, and therefore,
 did not make that request. Further, payment histories are not confidential.



 We will be filing our motion to restrict exhibits 4,5,7,8 and 9 later today. If you wish to oppose and ask the court to
 restrict exhibits 2, 3 and 6 you are certainly free to do so. We just need to know your position so we can file our motion
 as unopposed or opposed.




 Dennis N. Lueck, Jr.

 Partner



 Spencer Fane LLP

 1700 Lincoln Street, Suite 2000 | Denver, CO 80203
 O: 303.839.3733
 dlueck@spencerfane.com | spencerfane.com



                                                             1
                                                                                                   Page 1 of 7
Case 1:20-cv-00452-WJM-SKC Document 189-1 Filed 05/26/22 USDC Colorado Page 2 of 7
                                                     EXHIBIT A
From: Legal Grays <          @gmail.com>
Sent: Wednesday, May 25, 2022 11:26 PM
To: Lueck, Dennis <dlueck@spencerfane.com>
Cc: Salinas, Maria <MSalinas@spencerfane.com>
Subject: Re: [EXTERNAL] Re: Grays v. NSL - Motion to Restrict MSJ Exhibits 7 and 8



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trusted.




I literally said exhibits 2-9 and your request to restrict only a few fails to fully mitigate the issue. Please have
all of these restricted by 6pm on 5/26/22 or I'll be filing the motion.



On Wed, May 25, 2022, 4:34 PM Lueck, Dennis <dlueck@spencerfane.com> wrote:

 We spoke with the court. They told us to email them and they will restrict access to the exhibits. Maria is
 emailing the court now.



 Dennis



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 From: Legal Grays <          @gmail.com>
 Sent: Wednesday, May 25, 2022 12:47:44 PM
 To: Lueck, Dennis <dlueck@spencerfane.com>
 Cc: Salinas, Maria <MSalinas@spencerfane.com>
 Subject: Re: [EXTERNAL] Re: Grays v. NSL - Motion to Restrict MSJ Exhibits 7 and 8



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 trusted.




 Will this substitution happen today?



 On Wed, May 25, 2022, 12:38 PM Lueck, Dennis <dlueck@spencerfane.com> wrote:

                                                            2
                                                                                                  Page 2 of 7
Case 1:20-cv-00452-WJM-SKC Document 189-1 Filed 05/26/22 USDC Colorado Page 3 of 7
                                                                   EXHIBIT A
Thanks for sending. We can substitute exhibits where any info was not redacted.



Dennis




Dennis N. Lueck, Jr.

Partner



Spencer Fane LLP

1700 Lincoln Street, Suite 2000 | Denver, CO 80203
O: 303.839.3733
dlueck@spencerfane.com | spencerfane.com



From: Legal Grays <          @gmail.com>
Sent: Tuesday, May 24, 2022 7:41 PM
To: Lueck, Dennis <dlueck@spencerfane.com>
Cc: Kaufmann, Michael <mkaufmann@spencerfane.com>; Salinas, Maria <MSalinas@spencerfane.com>; Rutherford,
Amy <arutherford@spencerfane.com>
Subject: Re: [EXTERNAL] Re: Grays v. NSL - Motion to Restrict MSJ Exhibits 7 and 8



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Attached is a screenshot.



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ermanently dispose of this transmission and any copies thereof. Thank you for your cooperation.




On Tue, May 24, 2022 at 7:02 PM Lueck, Dennis <dlueck@spencerfane.com> wrote:
                                                                             3
                                                                                                                              Page 3 of 7
Case 1:20-cv-00452-WJM-SKC Document 189-1 Filed 05/26/22 USDC Colorado Page 4 of 7
                                                  EXHIBIT A
 Exhibit 9 appears to have one unredacted ssn. We can substitute with a redacted version ASAP. But so far,
 I’m unsure what you mean about the account numbers. They all appear to be partially redacted. I’m happy
 to substitute any exhibits with unredacted numbers, but need some more guidance on your other concerns.
 I’m on the road and reviewing from my phone, but I can pull everything tomorrow when I’m in the office.
 If you can provide more guidance in the meantime that would be appreciated.



 Dennis




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 From: Legal Grays <          @gmail.com>
 Sent: Tuesday, May 24, 2022 3:05:11 PM
 To: Lueck, Dennis <dlueck@spencerfane.com>
 Cc: Kaufmann, Michael <mkaufmann@spencerfane.com>; Salinas, Maria <MSalinas@spencerfane.com>;
 Rutherford, Amy <arutherford@spencerfane.com>
 Subject: Re: [EXTERNAL] Re: Grays v. NSL - Motion to Restrict MSJ Exhibits 7 and 8



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 trusted.




 Your team is overtly incorrect. Literally almost every page of exhibits 2-8 contain unredacted account
 numbers and one with my SSN. If I have to list every page, I will only do so in a motion for sanctions and
 to strike. I am not your employee and will not do the work for you. I notified you. Furthermore, your
 inability to retain counsel on this case is your issue to deal with and does not negate your duties as an
 attorney to act immediately to correct the overtly egregious errs of your second partner disappearing on this
 case.



 You have 20 hours to provide a timeline on when the disclosure will be rectified immediately or I will file
 my motion for sanctions and to strike. Please provide your positiion.




                              *** CONFIDENTIALITY NOTICE ***
                                                          4
                                                                                                Page 4 of 7
Case 1:20-cv-00452-WJM-SKC Document 189-1 Filed 05/26/22 USDC Colorado Page 5 of 7
                                                                  EXHIBIT A
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 On Tue, May 24, 2022 at 2:45 PM Lueck, Dennis <dlueck@spencerfane.com> wrote:

  Ms. Grays:



  Mike is no longer with the firm and I will need to find a new associate to work with. My team has
  reviewed the documents that were filed and informed me that they are all redacted. So I am unsure what
  you are talking about.



  Please specifically identify which documents and the specific pages within those documents you believe
  contains PII, and we will review again.



  Dennis



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  From: Legal Grays <         @gmail.com>
  Sent: Tuesday, May 24, 2022 2:05:14 PM
  To: Kaufmann, Michael <mkaufmann@spencerfane.com>
  Cc: Lueck, Dennis <dlueck@spencerfane.com>; Salinas, Maria <MSalinas@spencerfane.com>; Rutherford, Amy
  <arutherford@spencerfane.com>
  Subject: [EXTERNAL] Re: Grays v. NSL - Motion to Restrict MSJ Exhibits 7 and 8



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                                                                            5
                                                                                                                              Page 5 of 7
Case 1:20-cv-00452-WJM-SKC Document 189-1 Filed 05/26/22 USDC Colorado Page 6 of 7
                                                                  EXHIBIT A
  It has been over 24 hours since you have been informed that my private personal information was exposed
  publicly by you, and no response has been received. Please respond substantially with a timeline for
  correction within 24 hours of this email, or I will proceed accordingly.



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  ermanently dispose of this transmission and any copies thereof. Thank you for your cooperation.




  On Mon, May 23, 2022 at 1:47 AM Legal Grays <                                            @gmail.com> wrote:

   I oppose. Exhibits 2-9 contain either designated confidential information, full account numbers, and/or
   full SSN which are required to be redacted under the local rules.



   My private information exposed to the public is causing me severe distress and anxiety. Please file a
   motion to strike these exhibits.



   Failure to urgently file the motion will result in me filing the motion in an urgent matter and for sanctions
   for failing to comply with the protective order, and costs incurred as a result. Please let me know your
   position on these motions.


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    2510-2521 and is legally privileged. If you have received this communication in error, please immediately notify Tiffany Grays at
            @gmail.com and p
   ermanently dispose of this transmission and any copies thereof. Thank you for your cooperation.




   On Thu, May 19, 2022 at 2:34 PM Kaufmann, Michael <mkaufmann@spencerfane.com> wrote:

       Counsel,


                                                                            6
                                                                                                                              Page 6 of 7
Case 1:20-cv-00452-WJM-SKC Document 189-1 Filed 05/26/22 USDC Colorado Page 7 of 7
                                                     EXHIBIT A
   We intend to file a motion to restrict (Level 1) exhibits 7 and 8 to NSL’s motion for summary
   judgment under D.C.Colo.LCivR 7.2. (ECF Nos. 184, 184-1.) The Level 1 restriction permits
   only the parties and the Court to view the exhibits.



   Exhibits 7 and 8 constitute confidential trade secrets and proprietary information belonging to
   NSL. Exhibit 7 is a copy of the correspondence history notes regarding Plaintiff’s FFELP
   consolidated loan. Exhibit 8 is a copy of the correspondence history notes regarding Plaintiff’s
   FFELP and FDLP Stafford loans. These were also marked confidential when produced in
   discovery.



   Please let me know whether we may file the motion to restrict as unopposed.



   Thank you,



   Mike Kaufmann Attorney
   Spencer Fane
   ___________________________________________

   1700 Lincoln Street, Suite 2000 | Denver, CO 80203
   O 303.839.3794
   mkaufmann@spencerfane.com | spencerfane.com | About Mike




   Note: I typically review and respond to emails at 9:00 a.m., 11:00 a.m., 1:00 p.m., 3:00 p.m, and 5:00 p.m. If you need
   something between these times, please call.




                                                             7
                                                                                                       Page 7 of 7
